Case 2:13-cr-06070-SAB            ECF No. 90        filed 07/16/24       PageID.318        Page 1 of 1




      United States District Court, Eastern District of Washington
                             Magistrate Judge James A. Goeke
                                         Richland

 USA v. KENNETH RICHARD                              Case No.           2:13-CR-6070-SAB-1
 ROWELL

       Richland Video Conference (JAG @ Spokane; Counsel and Defendant @ Richland)
                    The Defendant agreed to appear via video conference.

 Status Hearing:                                                                        07/16/2024

 ☒ Sara Gore, Courtroom Deputy [R]                  ☒ Brandon Pang US Atty
 ☒ Melissa Orosco, Courtroom Deputy [S]             ☒ Julianna Van Wingerden, Defense Atty
 ☒ Elizabeth Lee, US Probation / Pretrial           ☒ Interpreter NOT REQUIRED
   Services Officer
 ☒ Defendant present ☒in custody USM


 ☐    USA Oral Motion for Detention                 ☐    Rights given
 ☐    USA not seeking detention                     ☐    Acknowledgment of Rights filed
 ☐    Financial Affidavit (CJA 23) filed            ☐    Defendant received copy of charging
                                                         document
 ☐    The Court will appoint the Federal            ☐    Defendant waived reading of petition
      Defenders
 ☐    Based upon conflict with Federal Defenders,   ☐    Petition reviewed in open court
      the Court will appoint a CJA Panel Attorney
 ☐    Conditions of Release Imposed                 ☐    Supplemental Pre-Trial Services Report
                                                         ordered
 ☐    Conditions of Release as Previously Imposed   ☐    The Court ordered continued representation
                                                         of previously appointed counsel with the
                                                         additional Petition(s)


                                               REMARKS
         Defense counsel requested that the hearing be continued to Thursday due to the Defendant not
feeling well.
         Colloquy between Court and the Defendant, the Defendant expressed not feeling well and agreed
to the hearing being rescheduled to Thursday.

The Court ordered:
      1. Defendant shall be detained by the U. S. Marshal until further order of the Court.

                      Initial Appearance on Supervised Release Petition Continued
                                         7/18/204 @ 10:00 a.m.
                                                [R/JAG]


Digital Recording/R-326              Time: 9:33 a.m. – 9:35 a.m.                                Page 1
